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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:14CR155
                     Plaintiff,               )
                                              )
       vs.                                    )                   ORDER
                                              )
DOROTEO MANUEL PONCE,                         )
                                              )
                     Defendant.               )

       This matter is before the court on the motion to continue by defendant Doroteo

Manuel Ponce (Ponce) (Filing No. 222). Ponce seeks a continuance of the trial scheduled

for July 6, 2015. Ponce's counsel represents that government's counsel has no objection

to the motion. Upon consideration, the motion will be granted.



       IT IS ORDERED:

       1.     Ponce's motion to continue trial (Filing No. 222) is granted.

       2.     Trial of this matter is re-scheduled for July 20, 2015, before Senior Judge

Joseph F. Bataillon and a jury. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendant in a speedy trial. The

additional time arising as a result of the granting of the motion, i.e., the time between June

9, 2015, and July 20, 2015, shall be deemed excludable time in any computation of time

under the requirement of the Speedy Trial Act for the reason that defendant's counsel

requires additional time to adequately prepare the case. The failure to grant additional

time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 9th day of June, 2015.

                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
